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                     IN THE UNITED STATES DISTRICT COURfI

                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                    2Ot8 MAY 30 ?M 9

                                  AUGUSTA DIVISiON

KEVINSHAWNBLYDEN,                            )

               Petitioner,

       V.                                             CV 107-03 1
                                                      (Formerly CR 198-049)
UNITED STATES OF AMERICA,

               Respondent.


            MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       Petitioner Kevin Shawn Blyden has filed with this Court a motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255. For the reasons set forth below, the

Court REPORTS and RECOMMENDS that Petitioner's § 2255 motion be DENIED, that

this civil action be CLOSED, and that a final judgment be ENTERED in favor of the United

States of America ("the Government")

                                   I. BACKGROUND

       On September 12, 2000, Petitioner pled guilty to one (1) count of conspiracy to

import more than five (5) kilograms of cocaine hydorchioride and more than fifty (50) grams

of cocaine base, commonly known as crack, in violation of2l U.S.C. § 963. United States

v. Blyden, CR1 98-049 (S.D. Ga. Oct. 8, 1998), hereinafter "CR1 98-049," doe. no. 308. The

Honorable Dudley H. Bowen, Jr., United States District Judge, sentenced Petitioner to 144

months of imprisonment, to be followed by five 5 years of supervised release, and a $100

special assessment. j, doe. no. 361. Petitioner appealed his conviction and sentence,

arguing that: (1) the district court erred by failing to sua sponte grant him a sentencing
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reduction based on his role in the offense under U.S.S.G. § 3B1 .2; (2) the district court erred

by assessing a two-level enhancement under U.S.S.G. § 2D1 .1(b)(1) for possession of a

firearm; (3) the district court erred by failing to sentence him in accordance with the "safety

valve" provision, U.S.S.G. § 5C1.2; (4) the district court erred by failing to downwardly

depart under U.S.S.G. § 5K2.0; and (5) he received ineffective assistance of trial counsel

because his counsel failed to raise the aforementioned issues at sentencing. CR 198-049, doe.

no, 534, p. 3. On February 25, 2003, the Eleventh Circuit Court of Appeals affirmed

Petitioner's conviction and sentence. Jd. at 14.

        On July 12, 2003, the Government protectively filed, for the purpose of tolling the

limitations period, a "Rule 35(b) Motion for Reduction of Sentence," 1 which was granted by

Judge Bowen. J, doc. nos. 432 & 436. Following an evidentiary hearing, where Judge

Bowen heard from counsel for the Government and Petitioner, 2 Petitioner's sentence was

reduced from 144 to 132 months.        , doc. no. 616. Petitioner filed a motion to reconsider,

which was denied. j, doe. nos. 618 & 621. Petitioner appealed, arguing that his reduced

sentence was illegally imposed because: (I) the district court ignored his request to proceed

pro se and allowed Mr. Axam to represent him at the Federal Rule 35(b) Hearing; (2) he


        'Federal Rule of Criminal Procedure ("Federal Rule") 3 5(b) states, in pertinent part,
"Upon the [G]overnment's motion made within one year of sentencing, the court mayreduce
a sentence if the defendant, after sentencing, provided substantial assistance in investigating
or prosecuting another person." Fed. R. Crim. P. 35(b)(1).

          At the Federal Rule 3 5(b) Hearing, Petitioner was represented by Mr. Tony Axam,
who testified, infer alia, "I got the impression [from the conversation I had with Petitioner
this morning] that [Petitioner] wanted to go forward with this hearing.... So, I think I have
the full authority from [Petitioner] to go forward" CR198-049, doc. no. 625, pp. 4-5. In this
regard, Judge Bowen explained that, despite prior issues between Petitioner and Mr. Axam,
"both the Eleventh Circuit and this district court have required Mr. Ax[a]m to continue his
role as counsel." j at 6. Ultimately, Judge Bowen determined, "Mr. Ax[a]m should
continue his representation and has authorization from tPetitioner] to do so." 14

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received ineffective assistance of counsel at the Federal Rule 35(b) Hearing; and (3) the

district court reduced his sentence without his presence at the Federal Rule 35(b) Hearing.

Id.. doe. no. 632, pp. 5-7. On December 14, 2006, the Eleventh Circuit Court of Appeals

affirmed Petitioner's sentence. 3 Id. at 8.

        In the above-captioned § 2255 motion, Petitioner again argues that he received

ineffective assistance of counsel at his Federal Rule 35(b) I-Tearing.4 (Doc. no. I, p. 4)

Conversely, the Government argues, "[B]ecause [Petitioner] was not constitutionally entitled

to counsel at his Rule 35(b) proceeding, ajbrtiorari, he was not denied effective assistance

of counsel at that proceeding." (Doc. no. 3, p. 7 (citations omitted)). Having summarized

the procedural history and the parties' contentions, the Court resolves the matter as follows.




        3 Specifically, the Eleventh Circuit held that Petitioner's conduct, subsequent to the
request to proceed pro se, demonstrated a clear intention to abandon his request, and thus,
the district court did not violate his right to self-representation. CR1 98-049, doc. no. 632,
p. 5. Furthermore, the Eleventh Circuit concluded that Petitioner did not have a
constitutional right to be at the Federal Rule 3 5(b) Hearing. at 7. Finally, although it
decUned to address Petitioner's ineffective assistance of counsel claim because the record
had not been sufficiently developed, the Eleventh Circuit noted that two other circuits have
held that defendants do not have a constitutional right to counsel in Federal Rule 35(b)
proceedings. i at 5-6.

        4Petitioncr submits,

        Mr. Axam . . . was allowed to appear [o]n behalf of [Petitionerj -- with
        neither his consent, knowledge, and indeed over his strong objection and his
        expressed prior notice to the Court that his discredited former counsel {] did
        not and could not represent him. [Petitionerj informed the Court that Axam
        was adverse to him, since he was a defendant in a lawsuit in civil court
        against Axam. Axam was found in a previous hearing by the District Court
        to have lied and decieved [sicj the Court.

(Doe. no. l,p.4).

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                                     H. DISCUSSION

A.      No Need for Evidentiary Hearing

        In the Eleventh Circuit, the general rule is "that [injeffective assistance [of counsel]

claims will not he addressed on direct appeal from a criminal conviction because an

evidentiary hearing, available in a section 2255 proceeding, is often required fordevelopment

of an adequate record." Vick v. United States, 730 F.2d 707. 708 (11th Cir. 1984).

Nonetheless, this general rule does not require the Court to hold an evidentiary hearing every

time an ineffective assistance of counsel claim is raised. [. Stated another way:

                Notwithstanding this legislative mandate, it is well settled that a
        petitioner does not establish his right to a hearing by the simple expedient of
        filing a petition. A hearing is not required on patently frivolous claims or
        those which are based upon unsupported generalizations. Nor is a hearing
        required where the petitioner's allegations are affirmatively contradicted by
        the record.

Stephens v. United States, l4F. Supp. 2d 1322, 1334(N.D. Ga. 1998) (citation omitted);

also Powell v. United States, No. 03-10389, slip op. at 2-3 (11th Cir. Dec. 2, 2003) (requiring

evidentiary hearing on § 2255 motion unless record "conclusively" shows that petitioner is

entitled to no relief).

        As discussed, infra, the Court finds that, because Petitioner's ineffective assistance

of counsel claim fails as a matter of law, no evidentiary hearing is necessary in this case.

B.      Petitioner's Ineffective Assistance of Counsel Claim Fails as a Matter of Law

        Because Petitioner did not have a constitutional right to counsel at his Federal Rule

35(b) Hearing, his ineff'ective assistance of counsel claim fails as a matter of law. Although

the Sixth Amendment guarantees the right to counsel at every stage of a criminal proceeding

where the accused's substantial rights maybe affected, Mempa v. Rhay. 389 U.S. 128, 134



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(1 967), the right to effective post-trial or appellate counsel is analyzed under the Due Process

Clause. 5Coleman v. Thompson, 501 U.S. 722, 756 (1991) (citations omitted)

(explaining, inter al/a, that the Due Process Clause does not require states to provide counsel

in discretionary appeals when there has already been one appeal as of right); Ross v. Moffitt,

417 U.S. 600, 610 (1974) (holding that the Due Process Clause does not require states to

provide defendants with counsel during their discretionary appeals). In this regard, 'neither

the Constitution's equal protection guarantees nor due process guarantees provide criminal

defendants a right to effective assistance of counsel with respect to a motion by the

government pursuant to Rule 35(b)." y1or, 414 F.3d at 536; see also Palomo, 80 F.3d at

142 ("The fact that a Rule 3 5(b) sentence reduction affects the inmate's sentence is of itself

insufficient to trigger a due process right to counsel . . . . The district court did not err in

finding that [the defendant] did not have a Sixth Amendment or due process right to counsel

with respect to his Rule 35(b) motion."); United States v. Jackson, Cr. No. 2:95cr174-WHA,

2007 WL 1125646, at *2 (M.D. Ala. Apr. 16, 2007) (holding that the defendant's due

process claim based on a lack of counsel at his Federal Rule 35(b) Hearing was

uripersuasive). Simply put, because the Eleventh Circuithad previously affirmed Petitioner's


         'The Court recognizes that the Eleventh Circuit has not addressed the issue of
whether defendants have a constitutional right to counsel in Federal Rule 3 5(b) proceedings.
United States v. Bl y den, 210 Fed. Appx. 928, 930 n.2 (11th Cir. 2006) (per cur/am).
However, as previously noted, the Eleventh Circuit has explicitly noted, "[T1wo other
circuits have held that the Constitution does not require that defendants he represented by
counsel during Rule 3 5(b) proceedings." id (citing United States v. Taylor, 414 F.3d 528
(4th Cir. 2005) and United States v. Palomo, 80 F.3d 138 (5th Cir. 1996)). Furthermore, the
Eleventh Circuit has held that prisoners have no constitutional right to the appointment of
counsel for postconviction proceedings. Arthur v. Allen, 452 F.3d 1234, 1249 (11th Cir.
2006). In this regard, the Eleventh Circuit has also explained that, "once the direct appeals
process is completed," the Supreme Court is reluctant to find a due process right to counsel.
Barbourv. Haley, 471 F.3d 1222, 1229 (1 lthCir. 2006), cert. denied, 127 S. Ct. 2996 (U.S.
June 1 8. 2007) (citations omitted).

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conviction and sentence, Petitioner did not have a constitutional right to counsel at his

Federal Rule 35(b) Hearing, and therefore, his ineffective assistance of counsel claim fails

as a matter of law.     Evitts v. Lucey, 469 U.S. 387, 397 n.7 (1985) ("Of course, the right

to effective assistance of counsel is dependent on the right to counsel itself"); Wnwright

v. Torna, 455 U.S. 586, 587-88 (1982) (per curiam) C'Since respondent had no constitutional

right to counsel, he could not be deprived of the effective assistance of counsel . . .

cf. Coleman, 501 U.S. at 725 ("Because there is no constitutional right to an attorney in state

postconviction proceedings, . . . a petitioner cannot claim constitutionally ineffective

assistance of counsel in such proceedings ....

        In sum, because Petitioner did not have a constitutional right to counsel at his Federal

Rule 3 5(b) Hearing, his ineffective assistance of counsel claim fails as a matter of law.6

Furthermore, as Petitioner's ineffective assistance of counsel claim fails as a matter of law,

no cvidcntiary hearing is necessary in this case.




        6To the extent Petitioner again argues that the district court illegally imposed his
sentence at the Federal Rule 35(b) Hearing because it ignored his request to proceed prose
and allowed Mr. Axam to represent him, such a claim would be procedurally barred. Claims
that are raised and rejected on direct appeal are generally precluded from reconsideration in
a § 2255 motion. United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000), ccii.
denied. 531 U.S. 1131 (2001), (citations omitted). As the Seventh Circuit noted, 1W]e do
not see how a federal prisoner--who must file his motion for relief under 2255 in the very
court that convicted him--can he allowed to do so if afl he is doing is rehashing a claim that
had been rejected on the direct appeal." White v. United States, 371 F.3d 900, 902 (7th Cir.
2004). Nor will the Court reconsider a previously raised claim where it is merely a re-
characterization of an issue raised on direct appeal. Nyhuis, 211 F.3d at 1343. Thus,
Petitioner must show, to obtain review in this § 2255 proceeding of a previouslyraised claim,
that there has been an intervening change in law since his appeal was decided and that a
"complete miscarriage of justice" would occur if the claim is not considered in these
proceedings. Davis v. United States, 417 U.S. 333, 346-47 (1974). As Petitioner makes no
such argument, the Court declines to revisit the self-representation issue because it was
rejected by the Eleventh Circuit on direct appeal.

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                                 III. CONCLUSION

       For the reasons set frrth above, the Court REPORTS and RECOMMENDS that

Petitioner's § 2255 motion be DENIED, that this civil action be CLOSED, and that a final

judgment he ENTERED in favor of the Government.

       SO REPORTED AND RECOMMENDED thi3,day of May, 2008, at Augusta,

Georgia.




                                            W. LEON BA.FIELD /
                                            UNITED ST4TES MAGIykATE JUDGE




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